  Case 16-20728      Doc 84     Filed 03/07/22 Entered 03/07/22 11:00:05          Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


In the Matter of:                                  }
                                                   }       Case No. 16-20728
  Agnieszka I. Lubowicka                           }
                                                   }       Chapter 13
                                                   }
                                                   }       Judge Jacqueline P. Cox
                                                   }
Debtor(s)                                          }       Cook County



                                   NOTICE OF MOTION

TO:

Thomas H. Hooper, Chapter 13 Trustee, 55 E. Monroe St., Suite 3850, Chicago, IL 60603, via
electronic court notification;

Toyota Financial Services, 19001 S. Western Ave., Torrance, CA 90501, via U.S. Mail;

Terri M. Long, Attorney for Toyota Motor Credit Corp., 15W030 North Frontage Rd., Suite 100,
Burr Ridge, IL 60527, via U.S. Mail;

Illinois Department of Revenue, Bankruptcy Department, P.O. Box 19035, Springfield, IL
62794-9035, via U.S. Mail;

Robert Lynch, III, Attorney for Illinois Department of Revenue, 100 W. Randolph St., 13th Floor,
Chicago, IL 60601, via U.S. Mail;

Agnieszka I. Lubowicka, 503 Spruce Court, Schaumburg, IL 60193; via U.S. mail;

SEE ATTACHED ADDRESSES

       PLEASE TAKE NOTICE that on March 28, 2022, at 9:00 a.m., I will appear before the
Honorable Jacqueline P. Cox, or any judge sitting in Judge Cox’s place, and present the motion
of Debtor to Modify Plan, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:
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      To appear by video, (1) use this link: https://www.zoomgov.com/. (2) Enter the meeting
ID 1612732896. (3) Enter the passcode 778135.


      To appear by telephone, (1) call Zoom for Government at 1-669-254-5252 or 1-646-
828-7666. (2) Enter the meeting ID 1612732896. (3) Enter passcode 778135.

          When prompted identify yourself by stating your full name.

          To reach Judge Cox’s web page go to www.ilnb.uscourts.gov and click on the tab for
Judges.

        If you object to this motion and want it called on the presentment date above, you may
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may call the matter regardless



                                     PROOF OF SERVICE

        I, the undersigned, certify that I caused this Notice and a copy of the attached
document(s) to be served upon the entities named above by depositing the same in the U.S.
Postal Service’s mail box at 8707 Skokie Blvd Suite 305, Skokie, IL 60077 on March 7, 2022,
except that the Trustee and any other party indicated in the Notice of Filing were served
electronically by the court on such date.



/s/ David Freydin__________________
David Freydin, Esq
Law Offices of David Freydin
8707 Skokie Blvd, Suite 312
Skokie, IL 60077
Phone: 847.972.6157
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Label Matrix for local noticing                      U.S. Document
                                                          Bankruptcy Court Page 3 of 5                    Anil Keerthi
0752-1                                               Eastern Division                                     3210 Deerpath Lane
Case 16-20728                                        219 S Dearborn                                       Carpentersville, IL 60110-3460
Northern District of Illinois                        7th Floor
Chicago                                              Chicago, IL 60604-1702
Mon Jun 27 14:47:31 CDT 2016
Barclays Bank                                        Capital One                                          Citi Cards
125 S. West St.                                      PO BOX 30281                                         PO Box 6077
Wilmington, DE 19801-5014                            Salt Lake City, UT 84130-0281                        Sioux Falls, SD 57117-6077



Convergent Outsourcing                               (p)ILLINOIS DEPARTMENT OF REVENUE                    Internal Revenue Service
PO BOX 9004                                          BANKRUPTCY DEPARTMENT                                PO BOX 7346
Renton, WA 98057-9004                                P O BOX 64338                                        Philadelphia, PA 19101-7346
                                                     CHICAGO IL 60664-0338


(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Schaumburg Toyota                                    Slawomir Lubowicki
PO BOX 41067                                         125 W. Higgins                                       518 Del Lago Dr.
NORFOLK VA 23541-1067                                Hoffman Estates, IL 60169-4913                       Schaumburg, IL 60173-2034



Synchrony Bank                                       (p)TOYOTA MOTOR CREDIT CORPORATION                   Agnieszka I Lubowicka
PO BOX 530942                                        PO BOX 8026                                          518 Del Lago Dr.
Atlanta, GA 30353-0942                               CEDAR RAPIDS IA 52408-8026                           Schaumburg, IL 60173-2034



David Freydin                                        Patrick S Layng                                      Tom Vaughn
Law Offices of David Freydin Ltd                     Office of the U.S. Trustee, Region 11                55 E. Monroe Street, Suite 3850
579 W. North Ave                                     219 S Dearborn St                                    Chicago, IL 60603-5764
Suite 203                                            Room 873
Elmhurst, IL 60126-2144                              Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Illinois Department of Revenue                       Portfolio Recovery Associates LLC                    Toyota Financial Services
101 West Jefferson St.                               PO BOX 12914                                         Bankruptcy Department
Springfield, IL 62702                                Norfolk, VA 23541                                    19001 S. Western Ave.
                                                                                                          Torrance, CA 90501


End of Label Matrix
Mailable recipients      17
Bypassed recipients       0
Total                    17
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In the Matter of:                                    }
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   Agnieszka I. Lubowicka                            }
                                                     }       Chapter 13
                                                     }
                                                     }       Judge Jacqueline P. Cox
                                                     }
Debtor(s)                                            }       Cook County


                          DEBTOR’S MOTION TO MODIFY PLAN


       NOW COMES THE DEBTOR, by and through her attorney, David Freydin, and requests

that this Honorable Court modify the Chapter 13 Plan under Section 1329 for the reasons below,

and in support thereof, states as follows:

1. That the Debtor filed a Chapter 13 bankruptcy petition in the Northern District of Illinois,

   Eastern Division as case number 16-20728 on June 26, 2016.

2. That this Honorable Court confirmed the Debtor’s Chapter 13 Plan on August 15, 2016, with

   secured creditors to be paid 100.00% and general unsecured creditors to be paid 10.00%.

3. That the Debtor has not converted the instant Chapter 13 case to a Chapter 7 case.

4. That the Debtor’s confirmed plan requires her to pay $380.00 per month for a minimum of

   36 months.

5. That in late 2021, Debtor submitted a series of payments to the Trustee which all parties

   believed to be sufficient to pay off Debtor’s case.

6. That the Trustee’s website indicates that the case has been paid in full.

7. That the Debtor requests that this plan be modified to lower the General Unsecured Creditors

   percentage from 10% to 2.34% with a total paid into the plan of $16,861.10
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8. That Debtor believes that the Trustee will agree to this modification to allow Debtor to

   receive her discharge and for the Trustee to close out this case.

9. That the Debtor filed the instant case in good faith and, with this modification, has completed

   the Plan of Reorganization.



   WHEREFORE THE MOVANT PRAYS that this Honorable Court enter an order modifying

the Chapter 13 plan as follows:

       A. Lower the percentage to GUC from 10.00% to 2.34% with a total paid into the plan of

           $16,861.10;

       B. For such other and further relief as this Court deems just and proper.



/s/ David Freydin__________________
David Freydin
Law Offices of David Freydin, PC
8707 Skokie Blvd., Suite 312
Skokie, IL 60077
Phone: 847.972.6157
